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Dale M. Cendali
Joshua L. Simmons
Megan L. McKeown
KIRKLAND & ELLIS LLP
601 Lexington Avenue
New York, New York 10022
Telephone: (212) 446-4800
Facsimile: (212) 446-4900
dale.cendali@kirkland.com
joshua.simmons@kirkland.com
megan.mckeown@kirkland.com

Attorneys for Plaintiff Take-Two Interactive Software, Inc.

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


TAKE-TWO INTERACTIVE SOFTWARE, INC.,                       Case No. 1:18-cv-2981

                      Plaintiff,                                   ECF Case

       - against -

ERIK CAMERON and CHRISTOPHER PEI,

                      Defendants.


                                         COMPLAINT

       Plaintiff Take-Two Interactive Software, Inc. (“Take-Two”), by and through its attorneys,

Kirkland & Ellis LLP, for its Complaint, hereby alleges against Defendants Erik Cameron and

Christopher Pei (collectively, “Defendants”) as follows:

                                   NATURE OF THE ACTION

       1.      This action seeks to recover damages that Take-Two has suffered and to prevent

the irreparable harm that continues to threaten Take-Two as a result of Defendants’ willful

infringement of Take-Two’s valuable intellectual property rights in and to its world-famous

video games and breach of Take-Two’s End User License Agreement (“User Agreement”).
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Specifically, upon information and belief, Defendants acting in concert with other individuals in

Europe created, distributed, and/or maintained a computer program called “Infamous” that alters

Take-Two’s Grand Theft Auto V video game (the “Infringing Program”). The Infringing

Program is a cheating and “griefing” tool that allows users to perform unauthorized actions in

Take-Two’s Grand Theft Auto V (“GTAV”) multiplayer feature Grand Theft Auto Online. These

unauthorized actions can be used to benefit the person who installed the program or to the

detriment of others playing in the same multiplayer session.

       2.      In a deliberate attempt to profit from Take-Two’s valuable intellectual property,

Defendants sell the Infringing Program to users who can then alter Take-Two’s video game.

These alterations are intended to and do allow users to cheat while playing Take-Two’s game,

both to (a) create benefits for themselves within the game that they have not purchased or earned,

or (b) to alter the game of other players in the same gaming session without authorization. As a

result, the Infringing Program disrupts the user experience that was designed by Take-Two

resulting in further harm to Take-Two and its users.

       3.      Defendants are well aware that the Infringing Program is unauthorized and

infringes Take-Two’s rights. In fact, Take-Two contacted Defendants prior to bringing this

lawsuit in an attempt to settle the parties’ dispute without requiring judicial intervention. Take-

Two demanded that Defendants cease their willful and infringing conduct. Defendants have

refused to comply. Indeed, upon information and belief, Defendants and others have updated the

Infringing Program twice after receiving notices from Take-Two, and they continue to distribute

and support the program in violation of Take-Two’s rights. In fact, one of the updates

distributed since Take-Two contacted the Defendants allows Infamous to continue operating

even if the Infamous authentication servers are turned off. The other was developed to



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circumvent new protections published by Take-Two that had temporarily stopped Infamous from

working.

       4.      In sum, Defendants have engaged, and continue to engage, in a pattern and

practice of knowingly, intentionally and willfully infringing Take-Two’s copyrights. Defendants

are attempting to profit by violating Take-Two’s rights and User Agreement. Moreover, despite

Take-Two’s repeated requests that Defendants cease their infringing activities, Defendants have

continued to misappropriate and profit from Take-Two’s copyrighted content.

       5.      Accordingly, due to Defendants’ blatant and willful infringement and refusal to

cease and desist, Take-Two has no choice but to file this lawsuit seeking injunctive relief and

damages that it has suffered as a result of Defendants’ direct and contributory copyright

infringement under the Copyright Act of 1976, 17 U.S.C. § 101 et seq., as well as for their

breach of Take-Two’s User Agreement, their tortious interference with Take-Two’s contracts

with other GTAV players, and their unfair competition with Take-Two.

                                             PARTIES

       6.      Plaintiff Take-Two Interactive Software, Inc. is a Delaware corporation having its

principal place of business in the State of New York and is qualified to do business and is doing

business in the State of New York and in this judicial district.

       7.      Defendant Erik Cameron is an individual who, upon information and belief,

resides in the State of Indiana.

       8.      Defendant Christopher Pei is an individual who, upon information and belief,

resides in the State of New York.

                                   JURISDICTION AND VENUE

       9.      This action arises under the Copyright Act of 1976, 17 U.S.C. § 101 et seq., and

New York state law. This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331, 1338 and 1367.

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       10.     Venue is proper in this District under 28 U.S.C. §§ 1391 and 1400.

               ALLEGATIONS COMMON TO ALL CLAIMS FOR RELIEF

I.     Take-Two and Its Award-Winning Video Games

       11.     Take-Two is the developer and publisher of best-selling video games, including

the Red Dead, Max Payne, and Grand Theft Auto series. Take-Two’s games are widely

recognized as some of the most popular and innovative games available on the market, and Take-

Two has earned numerous awards both in the United States and abroad as a result.

       12.     Take-Two has invested vast resources, including time, effort, talent, creativity,

and money, to produce its video games. Its games have large followings of fans throughout the

world, making Take-Two one of the world’s most popular video game publishers.

       13.     Take-Two owns the copyrights for each of its video games, including GTAV.

       14.     GTAV has been registered with the Copyright Office.

       15.     Attached hereto as Exhibit 1, and incorporated herein by reference, is a true and

correct copy of the Certificate of Registration issued by the Copyright Office for GTAV. Exhibit

1 reflects the date upon which Take-Two applied for certificate of registration and, where

applicable, the date on which the certificate was issued and the registration number assigned.

       16.     GTAV is a video game that was the product of Take-Two’s skills, resources, and

creative energies. It is of great value to Take-Two.

       17.     Take-Two is, and at all times material herein was, the sole owner and proprietor

of all right, title, and interest in and to the copyrights in GTAV. The copyrights in GTAV are

presently valid and subsisting and were valid and subsisting at all times affecting the matters

complained of herein.

       18.     To play Take-Two’s video games, including GTAV, users must agree to the terms

of Take-Two’s User Agreement. Among the terms provided in Take-Two’s User Agreement,

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users are (1) “not to . . . prepare derivative works based on, or otherwise modify the Software, in

whole or in part,” (2) “not to . . . restrict or inhibit any other user from using and enjoying any

online features of the Software,” and (3) “not to . . . cheat or utilize any unauthorized robot,

spider, or other program in connection with any online features of the Software.”

       19.     The permission that Take-Two grants users to play GTAV is expressly

conditioned on these terms. As a result, if a user breaches these conditions, his or her use of

Take-Two’s GTAV video game is no longer authorized, including the reproduction of the GTAV

software in the user’s computer or console. In other words, continuing to play GTAV after

breaching these provisions of Take-Two’s User Agreement not only constitutes a breach of the

User Agreement, but also copyright infringement.

II.    Defendants and the Infringing Program

       20.     Upon information and belief, Defendants—acting in concert with two individuals

in Europe—created, distributed, and/or maintained the Infringing Program, which is a cheating

and “griefing” tool for GTAV. The Infringing Program allows users to perform unauthorized

actions, including without limitation affecting in-game content and abilities of themselves and

other players. In other words, Defendants’ creation and use of the Infringing Program alters and

creates derivative works based on GTAV, which are used to alter the game for the benefit of the

user or to “grief” other players by altering their games without permission.

       21.     As a result, Defendants breached Take-Two’s User Agreement conditions.

Moreover, they have infringed Take-Two’s copyrights in two ways: first by continuing to use

GTAV after breaching those conditions, and second by creating an unauthorized derivative work

based on GTAV.

       22.     Defendants know that they did not have Take-Two’s permission to create,

distribute, and/or maintain such a computer program. Take-Two contacted Defendants,

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demanding that they discontinue their participation in the Infringing Program and similar

cheating tools and services.

       23.     Through counsel, Take-Two again contacted Defendants and demanded that they

cease their actions. Defendants have not done so. Instead, upon information and belief,

Defendants—acting in concert with the individuals in Europe—responded by updating the

Infringing Program to improve its performance.

       24.     Despite Take-Two’s repeated efforts to resolve this dispute without court

intervention, Defendants have refused to cease their infringing actions and, upon information and

belief, continue to use Take-Two’s content in the manner described above.

III.   The Harm to Take-Two

       25.     As discussed above, Take-Two produces video games for which it receives

revenue from video game sales and the purchases within the game.

       26.     Defendants’ willful infringement robs Take-Two of these revenues. The

Infringing Program (1) allows Defendants to profit commercially without paying Take-Two

anything, and (2) devalues and causes substantial harm to the value of GTAV. Thus, Take-Two

has been damaged by Defendants’ conduct in an amount to be determined according to proof, but

at a minimum, $500,000.00.

       27.     Moreover, upon information and belief, unless enjoined by this Court, Defendants

intend to continue to infringe upon Take-Two’s copyrights and otherwise to profit from Take-

Two’s video games.

       28.     Accordingly, Take-Two has suffered irreparable damages. Take-Two has no

adequate remedy at law to redress all of the injuries that Defendants have caused and intend to

cause by their conduct. Take-Two will continue to suffer irreparable damage until Defendants’

actions alleged above are enjoined by this Court.

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                                    CLAIMS FOR RELIEF

                                          COUNT I
                    Direct Copyright Infringement (17 U.S.C. § 101 et seq.)

       29.      Take-Two repeats and realleges each and every allegation above as if fully set

forth herein.

       30.      GTAV is an original, creative work and copyrightable subject matter under the

laws of the United States.

       31.      Take-Two is the owner of valid copyrights in GTAV, and the Register of

Copyrights has issued a valid Certificate of Registration as indicated in Exhibit 1.

       32.      Take-Two has complied in all respects with 17 U.S.C. §§ 101, et seq., and has

secured the exclusive rights and privileges in and to the copyrights in its video games and

content.

       33.      By their actions, alleged above, Defendants have infringed and will continue to

infringe Take-Two’s copyrights in and relating to GTAV by, inter alia, using the Infringing

Program to create derivative works using GTAV without any authorization or other permission

from Take-Two, as well as continuing to use GTAV having violated the conditions on such use.

       34.      Defendants’ infringement of Take-Two’s copyrights has been deliberate, willful

and in utter disregard of Take-Two’s rights.

       35.      Upon information and belief, as a direct and proximate result of its wrongful

conduct, Defendants have obtained benefits, including, but not limited to, payments from users

to which Defendants are not entitled.

       36.      As a direct and proximate result of Defendants’ wrongful conduct, Take-Two has

been substantially and irreparably harmed in an amount not readily capable of determination.

Unless restrained by this Court, Defendants will cause further irreparable injury to Take-Two.


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       37.      Take-Two is entitled to injunctive relief enjoining Defendants, and all persons

acting in concert or participation with him, from engaging in any further infringement of Take-

Two’s copyrighted video games and content.

       38.      Take-Two is further entitled to recover from Defendants the damages, including

attorney’s fees and costs, it has sustained and will sustain, and any gains, profits and advantages

obtained by Defendants as a result of his acts of infringement as alleged above. At present, the

amount of such damages, gains, profits and advantages cannot be fully ascertained by Take-Two,

but is at a minimum $500,000.00 and will be established according to proof at trial. Take-Two

also is entitled to recover statutory damages for Defendants’ willful infringement of its

copyrights.

                                        COUNT II
                Contributory Copyright Infringement (17 U.S.C. § 101 et seq.)

       39.      Take-Two repeats and realleges each and every allegation above as if fully set

forth herein.

       40.      GTAV is an original, creative work and copyrightable subject matter under the

laws of the United States.

       41.      Take-Two is the owner of valid copyrights in GTAV, and the Register of

Copyrights has issued a valid Certificate of Registration as indicated in Exhibit 1.

       42.      Take-Two has complied in all respects with 17 U.S.C. §§ 101, et seq., and has

secured the exclusive rights and privileges in and to the copyrights in its video games and

content.

       43.      By their actions, alleged above, Defendants have provided copies, or portions

thereof, of the Infringing Program to third-parties.




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       44.     Those third-parties, through their use of the Infringing Program, also infringe

Take-Two’s copyrights, inter alia, using the Infringing Program to create derivative works of

GTAV without any authorization or other permission from Take-Two, as well as continuing to

use GTAV after violating the conditions on such use.

       45.     Defendants had knowledge of the infringement of these third-parties and, in fact,

intentionally encouraged and induced such use. Moreover, Defendants materially contributed to

the direct infringement by working in concert with others to create, distribute, and/or maintain

the Infringing Program necessary for the infringement to occur.

       46.     Defendants also had knowledge of and materially contributed to the infringements

of other individuals engaged in creating, distributing, and/or maintaining the Infringing Program.

       47.     Defendants’ contributory infringement of Take-Two’s copyrights has been

deliberate, willful and in utter disregard of Take-Two’s rights.

       48.     Upon information and belief, as a direct and proximate result of their wrongful

conduct, Defendants have obtained benefits, including, but not limited to, payments from users

to which Defendants are not entitled.

       49.     As a direct and proximate result of Defendants’ wrongful conduct, Take-Two has

been substantially and irreparably harmed in an amount not readily capable of determination.

Unless restrained by this Court, Defendants will cause further irreparable injury to Take-Two.

       50.     Take-Two is entitled to injunctive relief enjoining Defendants, and all persons

acting in concert or participation with him, from contributing to any further infringement of

Take-Two’s copyrighted video games and content.

       51.     Take-Two is further entitled to recover from Defendants the damages, including

attorney’s fees and costs, it has sustained and will sustain, and any gains, profits and advantages



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obtained as a result of the acts of contributory infringement as alleged above. At present, the

amount of such damages, gains, profits and advantages cannot be fully ascertained by Take-Two,

and will be established according to proof at trial. Take-Two also is entitled to recover statutory

damages for Defendants’ willful contributory infringement of its copyrights.

                                          COUNT III
                                       Breach of Contract

       52.      Take-Two repeats and realleges each and every allegation above as if fully set

forth herein.

       53.      Take-Two’s User Agreement is a valid and enforceable contract. Among other

things, to play Take-Two’s video games, users must affirmatively agree to abide by the User

Agreement.

       54.      Take-Two has fully performed or tendered all performance required under the

User Agreement.

       55.      Defendants have breached their obligations under the User Agreement by

(1) altering GTAV and creating derivative works based on it; (2) restricting and inhibiting others

from using and enjoying GTAV; and/or (3) cheating and using unauthorized programs in

connection with GTAV’s online features.

       56.      Take-Two is entitled to recover compensatory and consequential damages

resulting from Defendants’ breach of the User Agreement.

                                           Count IV
                              Tortious Interference with Contract

       57.      Take-Two repeats and realleges each and every allegation above as if fully set

forth herein.




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       58.      As discussed above, Take-Two’s users must affirmatively assent to Take-Two’s

User Agreement before playing GTAV. That agreement contains specific provisions that

prohibit, among other things, altering GTAV and cheating.

       59.      Take-Two fulfilled all of its obligations pursuant to the User Agreement.

       60.      As GTAV users, Defendants were aware of the User Agreement and its

obligations on those that play GTAV.

       61.      Despite agreeing to the User Agreement, Defendants have induced, and continue

to induce, other GTAV players to breach their contractual responsibilities by using the Infringing

Program for purposes expressly prohibited by the User Agreement.

       62.      Defendants’ actions in inducing these breaches of contract are intentional, illegal,

and have been engaged in for the specific purpose of inducing the GTAV players using the

Infringing Program to breach their agreements with Take-Two.

       63.      As a proximate result of Defendants’ tortious interference with contract, Take-

Two has been damaged, and Defendants have been unjustly enriched, in an amount to be

determined at trial.

                                           COUNT V
                                       Unfair Competition

       64.      Take-Two repeats and realleges each and every allegation above as if fully set

forth herein.

       65.      As detailed above, Take-Two expends considerable time and expense in

producing and distributing its video games. Take-Two’s content and its reputation have

significant monetary value to Take-Two.

       66.      Defendants’ Infringing Program interferes with the proper operation of GTAV, as

well as the gaming experience of those players that abide by Take-Two’s User Agreement and


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do not use the Infringing Program. By doing so, Defendants take commercial advantage of

GTAV and unfairly compete with Take-Two.

        67.     Moreover, Defendants have misappropriated Take-Two’s labor and expenditures

in bad faith.

        68.     As a result, Defendants gain a special advantage over Take-Two because

Defendants bear none of the expense of producing video games. Upon information and belief,

Defendants have made, and continue to make, substantial profits as a direct result of their

interference with GTAV.

        69.     As a result of Defendants’ misappropriation, Take-Two has suffered significant

commercial and monetary damages as well as injury to its reputation.

        70.     Take-Two has no remedy at law that will adequately address all of the past and

continuing harm it has and will suffer as a result of Defendants’ past and continuing conduct. As

a direct and proximate result of Defendants’ conduct, Take-Two has suffered and will continue

to suffer damages in an amount presently unknown and to be ascertained at time of trial.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Take-Two respectfully requests judgment against Defendants as

follows:

        A.      Find that Defendants have infringed Take-Two’s copyrights in GTAV directly

                and contributorily;

        B.      Find a substantial likelihood that Defendants will continue to infringe Take-Two’s

                intellectual property unless enjoined from doing so;

        C.      Find that Defendants have breached the User Agreement;

        D.      Find that Defendants have tortiously interfered with Take-Two’s contracts with its

                other GTAV players;

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 E.   Find that Defendants have unfairly competed with Take-Two;

 F.   Issue a preliminary and permanent injunction enjoining Defendants and all

      persons, firms and corporations acting in concert with them, from directly or

      indirectly infringing Take-Two’s copyrights, including, but not limited to,

      (a) creating derivative works based upon any portion of Take-Two’s video games,

      including GTAV; (b) producing or distributing any computer programs that alter

      Take-Two’s games, including without limitation the Infringing Program; and

      (c) from participating or assisting in any such activity;

 G.   Order Defendants to render a full and complete accounting to Take-Two for

      Defendants’ profits, gains, advantages or the value of the business opportunities

      received from the foregoing acts of infringement and breach;

 H.   Enter judgment for Take-Two against Defendants for all damages suffered by

      Take-Two and for any profits or gain by Defendants attributable to infringement

      of Take-Two’s intellectual property, breach of the User Agreement, tortious

      interference with contract, and unfair competition in amounts to be determined at

      trial;

 I.   Enter judgment for Take-Two against Defendants for statutory damages based

      upon Defendants’ willful acts of infringement pursuant to the Copyright Act, 17

      U.S.C. § 101 et seq.;

 J.   Award Take-Two costs and disbursement of this action, including reasonable

      attorney’s fees and costs pursuant to 17 U.S.C. § 505;

 K.   Award Take-Two pre-judgment and post-judgment interest, to the fullest extent

      available, on the foregoing; and



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      L.     Grant such other, further and different relief as the Court deems just and proper.

                               DEMAND FOR JURY TRIAL

      Plaintiff Take-Two demands a trial by jury on all issues so triable in this action.


Dated: New York, New York                        KIRKLAND & ELLIS LLP
       April 4, 2018

                                                   /s/ Dale M. Cendali
                                                 Dale M. Cendali
                                                 Joshua L. Simmons
                                                 Megan L. McKeown
                                                 KIRKLAND & ELLIS LLP
                                                 601 Lexington Avenue
                                                 New York, New York 10022
                                                 Telephone: (212) 446-4800
                                                 Facsimile: (212) 446-4900
                                                 dale.cendali@kirkland.com
                                                 joshua.simmons@kirkland.com
                                                 megan.mckeown@kirkland.com

                                                 Attorneys for Plaintiff
                                                 Take-Two Interactive Software, Inc.




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